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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

LEON FRENKEL, ET AL.,

Plaintiffs, Case No.: 0:11-CV-62422-JIC
v.

JOHN P. ACUNTO, ET AL.,

Defendants.
/

AGREED CONFIDENTIALITY ORDER

This Agreed Confidentiality Order is entered in accordance with the directive in this
Court’s Order Denying Non-Parties’ [Renewed] Motions for Protective Order and to Quash
Subpoena Duces Tecum [DE 120], and shall govern the confidential information and documents
and shall authorize the release of the information among the Parties and other individuals
identified in this Order without obtaining prior written consent of the individuals to whom the
records pertain, but only in accordance with the terms of this Order, as follows:

I. DEFINITIONS GENERALLY
The following definitions shall apply to this Order:

A. “Collection Action” shall mean the above-styled action, Case No. 0:11-CV-62422-JIC,
including any appeals.

B. “Party” shall mean any one of the parties to this Collection Action.

C. “Parties” shall mean, collectively, all of the parties to the Collection Action.

D. “Non-Party Entities” shall mean, collectively, Chasin Records, LLC, Chasin Music

Group, Inc., Kaptiva Group, LLC, and J ohnkara, LLC.
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E. “Citibank Subpoena” shall mean that certain Subpoena in Civil Action served in the
Collection Action on Citibank, N.A., Branch Manager, 500 East Broward Blvd., Fort
Lauderdale, Florida 33394, including Exhibit “A” attached thereto.

F. “Citibank” shall mean “Citibank, N.A., its employees, agents, and representatives.

G. “Documents” shall mean any and all documents produced by Citibank in response to the
Citibank Subpoena, whether in written or electronic form, or any other medium. In
addition, the word “Document” is used in the broadest possible sense and means, without
limitation, any written electronic, printed, typed, photostated, photographed, recorded, or
otherwise reproduced matter of any kind, including the originals and all non-identical
copies thereof (whether different from the originals by reason of any notation made on
such copies or otherwise) including, without limitation, minutes, agendas, contracts,
agreements, reports, summaries, presentations, _inter-office and __intra-office
communications, offers, notations of any sort of conversations, diaries, appointment
books or calendars, teletypes, thermofax, confirmations, and all drafts, alterations,
modifications, changes and amendments to any of the foregoing, and all graphic,
electronic, or manual records or representations of any kind, including, without limitation,
photographs, microfiche, microfilm, videotape, motion pictures and electronics,
mechanical or electronic records or representations of any kind, including, without
limitation, tapes, cassettes, discs, magnetic cards, and other such recordings.

II. PROTECTED MATERIALS:

A. The following Documents are designated as “Confidential,” and shall be referred to

herein as the “Confidential Documents”: Any and all Documents produced by Citibank

in response to the Citibank Subpoena, including those related to the Non-Party Entities,
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but excluding any Document produced by Citibank that was previously disclosed in this
case or any Document produced by Citibank that is subsequently produced in this case by
a third party, any of the Non-Party Entities, or Defendants.

B. The Confidential Documents are deemed confidential, including the information
contained therein (the “Confidential Information”) even if they are not physically
marked as such.

Ill. RESTRICTED USE OF CONFIDENTIAL DOCUMENTS:

Except as otherwise ordered by this Court, Confidential Documents produced in this
Collection Action shall be used solely in the Collection Action, including any appeals, and shall
not be disclosed to any other person or entity without prior written consent of the Parties and

their counsel, and except as provided in Section IV, below.

IV. DISCLOSURE OF CONFIDENTIAL DOCUMENTS TO QUALIFIED
PERSONS:

Counsel may provide, disclose, discuss, or otherwise communicate about Confidential
Documents, in any form, only to “Qualified Persons,” defined as the following:

A. The Parties, the Parties’ respective counsel of record, appellate counsel of record,
including partners, associates, paralegals, and clerical and support personnel acting under
the direction and control of the Parties’ respective counsel and/or appellate counsel, and
only those who are necessary to assist the Parties’ counsel and/or appellate counsel in this
Collection Action, including any appeals,

B. The Court and all persons assisting the Court in this Collection Action, including clerks,

judicial assistant, or other personnel or employees of the Court;
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C. Any experts hired by the Parties’ counsel of record and/or appellate counsel, who
reasonably need access to the Confidential Documents in order to assist the Parties in the
prosecution or defense of this Collection Action, including any appeals, but only after
being advised of the terms of this Agreed Confidentiality Order and agreeing to abide by
its terms to not disclose any Confidential Documents to any persons not identified in this
Section IV;

D. Outside copying services persons;
E. Witnesses in preparation for or examination at deposition or trial, but only to the extent
reasonably necessary to prepare and/or examine such witnesses at deposition or trial;

F. Any other person hereafter designated by written stipulation of the Parties or by further
order of this Court.

V. ACKNOWLEDGEMENT AND WRITTEN ASSURANCE

A. In no event shall any Confidential Documents be disclosed to any person identified in
Section IV C. through F. above, unless and until such person has executed the written,
dated certificate of compliance attached hereto as Exhibit “B” acknowledging that he or
she has received and read a copy of this Order and that he or she agrees: (i) to be bound
by its terms; (ii) understands that the unauthorized disclosure or use of Confidential
Documents may constitute a violation of this Order and may subject the individual to
liability; and (iii) that the signatory consents to the exercise of personal jurisdiction by
this Court for purposes of enforcing the terms of this Order. Upon request, counsel shall
provide a copy of the certificate of compliance executed by any expert identified under
Rule 26, Fed.R.Civ.P., provided that the request is after the Rule 26 identification has

occurred.
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B. The Parties' counsel will retain copies of the executed acknowledgment forms until such
time as this Collection Action, including all appeals, is concluded. Should counsel wish
to disclose Confidential Documents subject to this Order to any persons other than those
indicated in Section IVA. through E. above, it must obtain the written consent of the non-
disclosing party; alternatively, counsel may seek an Order from this Court allowing the
disclosure, upon the filing of an appropriate motion.

C. Notwithstanding the provisions of this Agreed Confidentiality Order, the Parties do not
waive any objection to the admissibility of the Confidential Documents, or any portion
thereof, in any court proceeding, on the grounds of relevance, privilege, prejudice, or
competency.

VI. COPIES
All copies of Confidential Documents produced by Citibank shall be treated the same
way as originals, as set forth in this Agreed Confidentiality Order.

VII. DESIGNATION OF DEPOSITION TRANSCRIPTS AND EXHIBITS AS
CONFIDENTIAL

A. To the extent not provided for already herein, a deponent may, during the deposition, be
shown, and examined about the Confidential Documents, provided the procedures in
Section V, above, are complied with.

B. Parties may, within 15 days after receiving a deposition transcript, designate pages of the
transcript (and exhibits thereto) as confidential. Information related to the Confidential
Documents within the deposition transcript may be designated by stamping the portions
of the pages that are confidential as “Confidential.” Until expiration of the 15 day period,

the entire deposition will be treated as subject to protection against disclosure under this
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order. If no party or deponent timely designates confidential information in a deposition,
then none of the transcript or its exhibits will be treated as confidential. If a timely
designation is made, the confidential portions and exhibits shall be treated as such in
compliance with this Agreed Confidentiality Order and if ever filed, they shall be filed

under seal separate from the portions and exhibits not so marked.

VIII. FILING OF CONFIDENTIAL DOCUMENTS

Any Party wishing to submit a filing to the Court or any appellate court, including a
motion, brief, exhibit, affidavit, or declaration, that includes any Confidential Documents or
otherwise discusses the contents of Confidential Documents, shall redact the confidential
information, where feasible. In such case, the filing party shall retain the unredacted copies of
such documents and (i) serve an unredacted copy of the filing on the opposing Party, and (ii)
make an unredacted copy available to the Court upon request. Where redaction of confidential
information is not feasible or is impractical, the filing party shall make such filing under seal
pursuant to the Local Rules of the Southern District of Florida. All confidential material used
pursuant to this section shall be submitted to the Court under seal stating "CONFIDENTIAL
MATERIAL SUBMITTED UNDER SEAL PURSUANT TO THE AGREED
CONFIDENTIALITY ORDER DATED , 2014. In connection with all filings, the
parties are admonished to comply fully with Rule 5.2, Fed.R.Civ.P., and the Local Rules,
Southern District of Florida.

IX. USE OF CONFIDENTIAL DOCUMENTS

This Agreed Confidentiality Order shall govern the use of Confidential Documents and

Confidential Information in this Collection Action, including any court hearings, appeals or other
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court proceedings. The Agreed Confidentiality Order shall be subject to modification, upon
written consent of the Parties, or upon Motion filed with the Court and a showing of good cause
by the Parties. Any Confidential Document admitted into evidence shall not lose its confidential
designation unless expressly ordered by the Court.

X. INADVERTENT DISCLOSURE

The inadvertent or unintentional disclosure of Confidential Documents or Confidential
Information shall not be construed to be a waiver, in whole or in part, of the Parties' claims of
confidentiality as to the Confidential Documents. If, a Party discovers that Confidential
Documents previously produced should have been designated Confidential, that Party shall
promptly identify the Documents it intends to designate Confidential and the basis for
designating the Documents as such. The Documents shall thereafter be treated as Confidential in
accordance with the provisions of this Order. The Party receiving such notice shall make a
reasonable good-faith effort to insure that any analyses, memoranda, or notes that were generated
based upon such newly designated information are immediately treated as containing
Confidential information.

XI. NOORAL WAIVERS

The Parties may waive the confidentiality provisions of this Order as to any Confidential
Documents or Confidential Information, only by explicit written waiver. Such waiver shall not
result in a waiver of the confidential status of any other information deemed Confidential
pursuant to this Order.

XII. AMENDMENTS
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This Order may be amended by the agreement of counsel for the Parties in the form of a
proposed written amendment to the Order. Such proposed modification shall be submitted to the
Court for approval.

XII. NO ADMISSION

Nothing contained. in this Order shall be construed as an admission that any Confidential
Document or Confidential Information, or any testimony relating to such Document or
Information, is or would be admissible as evidence in this Collection Action, or in any other
proceeding.

XIV. COMPLETION OF COLLECTION ACTION

Within sixty (60) days after the final resolution of this Collection Action (including
resolution of all appellate proceedings or by settlement), all Confidential Documents or other
items containing Confidential Documents, and all copies thereof which are in the possession,
custody or control of any person (including but not limited to copies within the possession or
control of any expert or employee as permitted herein) other than the Defendant, John Acunto,
shall either be returned to Defendant, John Acunto or destroyed upon the written consent of
Defendant, John Acunto to the Plaintiffs.

iS a
DONE AND ORDERED in Fort Lauderdale, Florida, this day of ©) ’ ;

2004.

KS

HONORABL Y 8. SELTZER
Chief United States Magistrate Judge

Copies furnished to:

All counsel of record
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EXHIBIT “A”

See attached
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

LEON FRENKEL, et al.

Plaintiffs, CASE NO. 0:11-CV-62422-JIC
vs.

JOHN P. ACUNTO, et al.

Defendant.
/

NOTICE OF ISSUANCE OF SUBPOENA IN CIVIL ACTION

Plaintiff, LEON FRENKEL, hereby gives notice of the issuance of the attached Subpoena

in this action to the following non-party: Citibank, N.A.
CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct copy of the foregoing was served via US
Mail and E-mail to: L. Rachel Dolnick, Esq. and Jonathan Bloom, Esq., Bloom & Freeling,

2295 NW Corporate Boulevard, Suite 117, Boca Raton, Florida 33431, on this gk day of

ee LPA
ALIA. Le—

Mark D. Kustiner (FBN: 21056)

350 East Las‘Olas Boulevard, Suite 1150
Fort Lauderdale, Florida 33301

Phone: 954-462-4150

Fax: 954-462-4260

Email: mkushner@ralaw.com

August, 2012.

Ex t 8"

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

LEON FRENKEL, et al.
Plaintiffs, CASE NO. 0:11-CV-62422-JIC

VS.

SUBPOENA IN CIVIL ACTION

JOHN P, ACUNTO, et al.
Defendant.

TO: Citibank, N.A.
Branch Manager
500 East Broward Blvd.
Fort Lauderdale, FL 33394

4 YOU ARE COMMANDED to appear in the United States District Court, Southern District of Florida, at the
lace, date, and time specified below to testify in the above case.
IPLACE OF TESTIMONY , COURTROOM

IDATE AND TIME

[] YOU ARE COMMANDED to appear at the place, date, and time specified below to testify at the taking of a
deposition in the above case.

PLACE OF DEPOSITION [DATE AND TIME

YOU ARE COMMANDED to produce and permit inspection and copying of the following documents or
objects at the place, date, and time specified below:

SEE SCHEDULE “A” ATTACHED HERETO.

IN LIEU OF APPEARANCE, YOU MAY PRODUCE LEGIBLE COPIES OF THE
DOCUMENTS LISTED ON SCHEDULE “A” TO THE UNDERSIGNED ATTORNEY
ANY TIME PRIOR TO THE DATE LISTED BELOW.

PLACE: . IDATE AND TIME:

Roetzel & Andress, LPA Friday, August 24, 2012 @ 9:00 a.m.
350 East Las Olas Boulevard

Suite 1150

Fort Lauderdale, FL 33301

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Any organization not a party to this suit that is subpoenaed for the taking of a deposition shall designate one or more
officers, directors, or managing agents, or other persons who consent to testify on its behalf, and may set forth, for
each person designated, the matters on which the person will testify. Federal Rules of Civil Procedure, 30(b)(6).

ISSUING OFFICER SIGNATMRE AND TITLE (INDICATE IF ATTORNEY FOR “(DATE

PLAINTIFF OR on, LE? . 8 / B/| cu

Mark D.Kushner, Esq.
Florida Baf No.: 21056
ATTORNEY FOR PLAINTIFF

ISSUING OFFICER'S NAME, ADDRESS AND PHONE NUMBER
Mark D. Kushner, Esq.
Roetzel & Andress
350 E. Las Olas Blvd, Suite 1150
Fort Lauderdale, Florida 33301

954-462-4150 (0)

954-462-4260(f}

Mkushner@ralaw.com

PROOF OF SERVICE
SERVED DATE PLACE
SERVED ON (PRINT NAME) MANNER OF SERVICE
SIGN NAME , TITLE
DECLARATION OF SERVER

I declare under penalty of perjury under the laws of the United States of America that the foregoing
information contained in the Proof of Service is true and correct.

Executed on

Date Signature of Server

Address of Server

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Rule 45, Federal Rules of Civil Procedure, Subdivisions (c), (d), and (e), as amended on December 1, 2007:

(C) PROTECTION OF PERSONS SUBJECT TO SUBPOENAS,

(1) A party or an attorney responsible for issuing and serving a subpoena must take reasonable steps to avoid
imposing undue burden or expense on a person subject to the subpoena. The issuing court must enforce this
duty and impose en appropriate sanction — which may include lost earnings and reasonable attorney’s fees - on

a party or attorney who fails to compy.

(2)

(A) A person commanded to produce documents, electronically stored information, or tangible things, or to permit
the inspection of premises, need not appear in person at the place of production or inspection unless also
commanded to appear for a deposition, hearing, or trial.

B) A person commanded to produce documents or tangible things or to permit inspection may serve on the party or
attorney designated in the subpoena a written objection to inspecting, copying, testing or sampling any or all of
the materials or to inspecting the premises — or to producing electronically stored information in the form or
forms requested. The objection must be served before the earlier of the time specified for compliance or 14 days
after the subpoena is served. If an objection is made, the following rules apply: (i) At any time, on notice to the
commanded person, the serving party may move the issuing court for an order compelling production or
inspection. (ii) These acts may be required only as directed in the order, and the order must protect a person
who is neither a party nor a party's officer from significant expense resulting from compliance.

(3)

(A) On timely motion, the issuing court must quash or modify a subpoena that: (i) fails to allow a
reasonable time to comply; (ii) requires a person who is neither a party nor a party's officer to travel
more than 100 miles from where that person resides, is employed, or regularly transacts business in .
person —- except that, subject to Rule 45(c)(3)(B)(iii), the person may be commanded to attend a trial
by traveling from any such place within the state where the trial is held: (iii) requires disclosure of
privileged or other protected matter, ifno exception or waiver applies; or (iv) subjects a person to
undue burden.

(B) To protect a person subject to or affected by a subpoena, the issuing court may, on motion, quash or
modify the subpoena if it requires: (i) disclosing a trade secret or other confidential research,
development, or commercial information, (ii) disclosing an unretained expert's opinion or
information that does not describe specific occurrences in dispute and results from the expert's study
that was not requested by a party; or (iii) a person who is neither a party nor a party's officer to incur
substantial expense to travel more than 100 miles to attend trial.

(C) In the circumstances described in Rule 45(c)(3)(B), the court may, instead of quashing or modifying
a subpoena, order appearance or production under specified conditions if the serving party: (i) shows
a substantial need for the testimony or material that cannot be otherwise met without undue hardship;
and (ii) ensures that the subpoenaed person will be reasonably compensated

(D) DUTIES IN RESPONDING TO SUBPOENA.
(1) These procedures apply to producing documents or electronically stored information:

{A) A person responding to a subpoena to produce documents must produce them as they are kept in the ordinary
course of business or must organize end label them to correspond to the categories in the demand.

(B) Hf a subpoena does not specify a form for producing electronically stored information the person responding
must produce it in a form or forms in which it is ordinarily maintained or in a reasonably usable form or forms.

(C) The person responding need not produce the same electronically stored information in more than one form.

(D) The person responding need not provide discovery of electronically stored information from sources that the
person identifies as not reasonably accessible because of undue burden or cost. On motion to compel discovery
or for a protective order, the person responding must show that the information is not reasonably accessible
because of undue burden or cost. If that showing is made, the court may nonetheless order discovery from such
sources if the requesting party shows good cause, considering the limitations of Rule 26(b)(2)(C). The court
may specify conditions for the discovery.

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(E)

@)
(A)
(B)
CONTEMPT.

A person withholding subpoenaed information under a claim that it is privileged or subject to protection as trial-
preparation material must: (i) expressly make the clam; and (ii) describe the nature of the withheld documents,
communications, or tangible things in a manner that, without revealing information itself privileged or
protected, will enable the parties to assess the claim.

If information produced in response to a subpoena is subject to a claim of privilege or of protection as trial-
preparation material, the person making the claim may notify any party tha received the information of the
claim and the basis for it. After being notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information until the claim is resolved; must take
reasonable steps to retrieve the information if the party disclosed it before being notified; and may promptly
present the information to the court under seal for a determination of the claim. The person who produced the
information must preserve the information until the claim is resolved.

The issuing court may hold in contempt a person who, having been served, fails without adequate excuse to obey the
subpoena A nonparty's failure to obey must be excused if the subpoena purports to require the nonparty to attend or
produce at a place outside the limits of Rule 45(c)(3)(A)(ii).

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SCHEDULE “A”
DEFINITIONS

a. “Acunto” means Defendant John P. Acunto, an individual, Defendant in this .
action, with the last known address of 18715 Ocean Mist Drive, Boca Raton, Florida 33498,
including his agents, employees and representatives.

b, “Citibank” means Citibank N.A., its employees, agents and representatives.

c. “Chasin Records Account” means each and every Citibank account in the name of
Chasin Records, LLC’s, including, but not limited to, account 9117140900

d. “Chasin Music Account” means each and every Citibank account in the name of
Chasin Music Group, Inc.

e. “Kaptiva Account” means cach and every Citibank account in the name of
Kaptiva Group, LLC, including, but not limited to, account 9117637413.

f. “Johnkara Account” means each and every Citibank account in the name of
Johnkara, LLC, including, but not limited to the account ending in 084.

g. “Additional Acunto Account(s)” means cach and every bank account, investment
account or safe deposit box account at Citibank for which Acunto is/was the owner, authorized
signor or beneficiary, or for which Acunto has authority pursuant to a power of attorney, other
than the specific accounts defined above.

DOCUMENTS TO BE PRODUCED

1, The operative signature card(s) for the Chasin Records Account, as well as all
signature cards for such account(s) executed after January 1, 2010.

2. All bank statements, copies of canceled checks and documents, from or on behalf
of any authorized signor, authorizing or directing wire transfers or other debits and credit to and
from the Chasin Records Account since January 1, 2010.

3. Copies of all deposit records, including, but not limited to, deposit slips and
copies of deposited checks for the Chasin Records Account since January 1, 2010.

4, The operative signature card(s) for the Chasin Music Account, as well as all
signature card(s) for such account executed after January 1, 2010.

5. All bank statements, copies of canceled checks and documents, from or on behalf
of any authorized signor, authorizing or directing wire transfers or other debits and credit to and
from the Chasin Music Account since January 1, 2010.

6. Copies of all deposit records, including, but not limited to, deposit slips and
copies of deposited checks for the Chasin Music Account since January 1, 2010.

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7. The operative signature card(s) for the Kaptiva Account, as well as all signature
card(s) for such account executed after January 1, 2010.

8. All bank statements, copies of canceled checks and documents, from or on behalf
of any authorized signor, authorizing or directing wire transfers or other debits and credit to and
from the Kaptiva Account since January 1, 2010.

9. Copies of all deposit records, including, but not limited to, deposit slips and
copies of deposited checks for the Kaptiva Account since January 1, 2010.

10. The operative signature card(s) for the Johnkara Account, as well as all signature
card(s) for such account executed after January 1, 2010.

11. All bank statements, copies of canceled checks and documents, from or on behalf
of any authorized signor, authorizing or directing wire transfers or other debits and credit to and
from the Johnkara Account since January 1, 2010.

12. Copies of all deposit records, including, but not limited to, deposit slips and
copies of deposited checks for the Johnkara Account since January 1, 2010.

13. The operative signature card(s) for the Additional Acunto Account(s), as well as
all signature card(s) for such account(s) executed after January 1, 2010.

14, All bank statements, copies of canceled checks and documents, from or on behalf
of any authorized signor, authorizing or directing wire transfers or other debits and credit to and
from the Additional Acunto Account(s), since January 1, 2010.

15. Copies of all deposit records, including, but not limited to, deposit slips and
copies of deposited checks for the Additional Acunto Account(s), since January 1, 2010.

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ACKNOWLEDGEMENT AND CERTIFICATE OF COMPLIANCE WITH AGREED
CONFIDENTIALITY ORDER

I have read and do understand the Agreed Confidentiality Order entered in the following
styled action on 2014, and I hereby agree to be bound by it: Leon Frenkel, et al
v. John P. Acunto, et al, Case No. 0:11-CV-62422-JIC (the “Collection Action”). Specifically, |
agree that I will not disclose any documents or information, collectively referred to as
“Confidential Documents and Information,” to any person, except as authorized by the Court or
as authorized in the Agreed Confidentiality Order.

I further agree that I will take appropriate steps to maintain the confidentiality of the
Confidential Documents and Information. I hereby confirm that my duties under this
Acknowledgement shall survive the termination of the Collection Action and are binding upon
me for all time. I hereby consent to the personal jurisdiction of the United States District Court
for the Southern District of Florida for the purpose of enforcing the Agreed Confidentiality
Order.

Dated

[Signature]

[Print full name]

EXHIBIT “B”

10
